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1    Eric A. Buresh (pro hac vice)
2    eric.buresh@eriseip.com
     Clifford T. Brazen (pro hac vice)
3    cliff.brazen@eriseip.com
     Chris R. Schmidt
4
     chris.schmidt@eriseip.com
5    7015 College Blvd. Suite 700
     Overland Park, KS 66211
6
     Phone: (913) 777-5600
7    Facsimile: (913) 777-5601
8    Ben M. Davidson (State Bar No. 181464)
     ben@dlgla.com
9    DAVIDSON LAW GROUP, ALC
     4500 Park Granada Blvd, Suite 202
10   Calabasas, California 91302
     Office: (818) 918-4622
11   Fax: (310) 473-2941

12   Attorneys for Plaintiff Crytek GmbH

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                     IN THE UNITED STATES DISTRICT COURT
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                 FOR THE CENTRAL DISTRICT OF CALIFORNIA
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     CRYTEK GMBH,                                 Case No. 2:17-CV-08937-DMG-FFM
17                                                Hon. Dolly M. Gee Presiding
                 Plaintiff,
18                                                [PROPOSED] ORDER GRANTING
           v.                                     PLAINTIFF CRYTEK GMBH’S
19                                                APPLICATION TO FILE UNDER
     CLOUD IMPERIUM GAMES CORP.,                  SEAL UNREDACTED PORTION OF
20   and ROBERTS SPACE INDUSTRIES                 PLAINTIFF’S MEMORANDUM IN
     CORP.,                                       SUPPORT OF ITS MOTION FOR
21                                                VOLUNTARY DISMISSAL
                 Defendants.
22                                                [Local Rule 79.5.2.2(B)]
23                                                Date: February 21, 2020
                                                  Time: 9:30 a.m.
24                                                Location: Courtroom 8C
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           [PROPOSED] ORDER GRANTING PLAINTIFF’S APPLICATION TO FILE UNDER SEAL
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1          Pursuant to Local Rule 79-5.2.2(b), and after considering Plaintiff’s Crytek
2    GMBH (“Crytek”) Application to File Under Seal Portions of its Memorandum in
3    Support of its Motion for Voluntary Dismissal, and for good cause shown, IT IS
4    HEREBY ORDERED THAT portions of Plaintiff’s Memorandum in Support of its
5    Motion for Voluntary Dismissal of Claims, Dkt. 92, shall be filed under seal as
6    follows:
7
8    Documents or Portions Thereof to Be Filed Under Seal                    Order

9    Portions to Plaintiff’s Memorandum in Support of its Motion for        Granted
     Voluntary Dismissal of Plaintiff’s Claims, [Dkt. 92] at page
10   numbers 1, 3, 4, 5, 6
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12
     IT IS SO ORDERED.
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14   Dated: ___________________
                                                  Hon. Dolly M. Gee
15                                                United States District Judge
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           [PROPOSED] ORDER GRANTING PLAINTIFF’S APPLICATION TO FILE UNDER SEAL
